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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


ROBERT ASIPI,                                          )
    Plaintiff                                          )
                                                       )
                                                       )
v.                                                     )    Case No.: 1:20-cv-11892
                                                       )
NEW ENGLAND GYPSUM SUPPLY, INC.,                       )
     Defendant                                         )


                           JOINT STIPULATION OF DISMISSAL

       Now come the parties to the above-entitled matter and hereby stipulate that the within

action be dismissed in accordance with Fed. R. Civ. P. 41(a)(1)(A)(ii) with prejudice and without

costs and waiving all rights of transfer and appeal.

                                            Respectfully submitted,

                                            /s/ Kip J. Adams
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Dated: June 9, 2021
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                                 CERTIFICATE OF SERVICE

       Pursuant to Local Rule 5.2, I hereby certify that the above document filed through the ECF
system will be sent electronically to all parties of records via the Notice of Electronic Filing (NEF).




Dated: June 9, 2021
                                                       ______________________________
                                                       Samuel A. Segal, Esq.




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